                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                             WESTERN DIVISION



  UNITED STATES OF AMERICA,
                Plaintiff,                              No. CR07-4095-MWB
  vs.                                               ORDER CONCERNING
                                                MAGISTRATE’S REPORT AND
  NOE SANCHEZ-RUIZ,
                                               RECOMMENDATION REGARDING
                Defendant.                       DEFENDANT’S GUILTY PLEA
                                 ____________________

                       I. INTRODUCTION AND BACKGROUND
        On April 24, 2008, a superseding indictment was returned against Noe Sanchez-
Ruiz, charging defendant with conspiracy to distribute 500 grams or more of
methamphetamine and to distribute 50 grams or more of pure methamphetamine, in
violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846, and distributing 500 grams or
more of methamphetamine and 50 grams or more of pure methamphetamine, in violation
of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A). On October 21, 2008, defendant appeared
before Chief United States Magistrate Judge Paul A. Zoss and entered a plea of guilty to
Counts 1 and 4 of the superseding indictment. On this same date, Judge Zoss filed a Report
and Recommendation in which he recommends that defendant’s guilty plea be accepted.
No objections to Judge Zoss’s Report and Recommendation were filed. The court,
therefore, undertakes the necessary review of Judge Zoss’s recommendation to accept
defendant’s plea in this case.


                                     II. ANALYSIS
        The court reviews the magistrate judge’s report and recommendation pursuant to the



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statutory standards found in 28 U.S.C. § 636(b)(1):
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.
              The judge may also receive further evidence or recommit the
              matter to the magistrate judge with instructions.
28 U.S.C. § 636(b)(1) (2006); see Fed. R. Civ. P. 72(b) (stating identical requirements);
N.D. IA. L.R. 7.1 (allowing the referral of dispositive matters to a magistrate judge but not
articulating any standards to review the magistrate judge’s report and recommendation).
While examining these statutory standards, the United States Supreme Court explained:
              Any party that desires plenary consideration by the Article III
              judge of any issue need only ask. Moreover, while the statute
              does not require the judge to review an issue de novo if no
              objections are filed, it does not preclude further review by the
              district judge, sua sponte or at the request of a party, under a
              de novo or any other standard.
Thomas v. Arn, 474 U.S. 140, 154 (1985). Thus, a district court may review de novo any
issue in a magistrate judge’s report and recommendation at any time. Id. If a party files
an objection to the magistrate judge’s report and recommendation, however, the district
court must “make a de novo determination of those portions of the report or specified
proposed findings or recommendations to which objection is made.”                28 U.S.C.
§ 636(b)(1). In the absence of an objection, the district court is not required “to give any
more consideration to the magistrate’s report than the court considers appropriate.”
Thomas, 474 U.S. at 150.
       In this case, no objections have been filed. As a result, the court has reviewed the
magistrate judge’s report and recommendation under a clearly erroneous standard of


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review. See Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (noting when no
objections are filed and the time for filing objections has expired, “[the district court judge]
would only have to review the findings of the magistrate judge for clear error”); Taylor v.
Farrier, 910 F.2d 518, 520 (8th Cir. 1990) (noting the advisory committee’s note to Fed.
R. Civ. P. 72(b) indicates “when no timely objection is filed the court need only satisfy
itself that there is no clear error on the face of the record”). After conducting its review,
the court is not “‘left with [a] definite and firm conviction that a mistake has been
committed,’” and finds no reason to reject or modify the magistrate judge’s
recommendation. Anderson v. City of Bessemer City, 470 U.S. 564, 573-74 (1985)
(quoting United States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)). Therefore, the
court accepts Judge Zoss’s Report and Recommendation of October 21, 2008, and accepts
defendant’s plea of guilty in this case to Counts 1 and 4 of the superseding indictment.
       IT IS SO ORDERED.
       DATED this 7th day of November, 2008.


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                                                   MARK W. BENNETT
                                                   U. S. DISTRICT COURT JUDGE
                                                   NORTHERN DISTRICT OF IOWA




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